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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 1:18-cv-20839-UU

 Patricia Kennedy, individually,

         Plaintiff,
 v.

 Floridian Hotel, Inc., a Florida corporation,

       Defendant.
 _________________________________________/

         DEFENDANT’S MOTION TO DISMISS THE COMPLAINT FOR LACK OF
      SUBJECT MATTER JURISDICTION, OR IN THE ALTERNATIVE, MOTION FOR
                        MORE DEFINITE STATEMENT

         Defendant, Floridian Hotel, Inc. (“Defendant”), through undersigned counsel, pursuant to

 Federal Rule of Civil Procedure 12(b), moves to dismiss the Complaint for lack of standing, or in

 the alternative, for a more definite statement, and in support states as follows:

                                        Factual Background

         On or about March 5, 2018, Plaintiff Patricia Kennedy (“Plaintiff”) filed this action

 against Defendant alleging violations of Title III of the Americans with Disabilities Act

 (“ADA”) at the subject online hotel reservation system (the “Website”). [D.E. 1]. Plaintiff has

 alleged that she is a resident of Broward County, Florida and that she is a “tester” for the purpose

 of monitoring, ensuring, and determining whether places of public accommodation and their

 websites are in compliance with the ADA. [D.E. 1, ¶¶ 1, 2]. Plaintiff alleges in her Complaint

 that she visited the Website for the purpose of “reviewing and assessing the accessible features at

 the Property and ascertain [sic] whether they meet the requirements of 28 C.F.R. Section

 36.302(e) and her accessibility needs.” Id. at ¶ 10. Further, Plaintiff generally alleges that the

 Website is in violation of 28 C.F.R. § 36.302(e), but does not specifically allege how the Website
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 fails to comply. Id. Accordingly, Plaintiff’s Complaint should be dismissed with prejudice

 because Plaintiff fails to allege an injury-in-fact or threat of future injury. Alternatively, Plaintiff

 should be required to provide a more definite statement as to the violations she encountered or

 had knowledge of at the time of filing the Complaint.

                                        Memorandum of Law

 A. Legal Standard for Motion to Dismiss

        Federal Rule of Civil Procedure 12(b)(6) authorizes dismissal of a complaint if it fails to

 state a claim upon which relief can be granted. Gjondrekaj v. Napolitano, 801 F.Supp.2d 1344,

 1348-49 (M.D. Fla. 2011). Moreover, federal pleading requirements mandate that a complaint

 “state a claim to relief that is plausible on its face” in order to survive a motion to dismiss. Bell

 Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007); Fed. R. Civ. P. 12(b). The complaint must

 also provide “more than labels and conclusions, and a formulaic recitation of the elements of a

 cause of action will not do.” Id. at 555 (2007); see also Ashcroft v. Iqbal , 556 U.S. 662, 678

 (2009) (providing that pleading in federal court “demands more than an unadorned, the-

 defendant-unlawfully-harmed-me accusation”).          Relatedly, to demonstrate standing in ADA

 cases, a plaintiff must show: (1) an injury-in-fact; (2) a causal connection between the injury-in-

 fact and the defendant’s action; (3) that the injury is redressable; and (4) the actual threat of

 future injury. Norkunas v. Seahorse NB, LLC, 444 Fed. Appx. 412, 415 (11th Cir. 2011).

        Moreover, Rule 12(b)(1) attacks on subject matter jurisdiction may be facial or factual.

 Carmichael v. Kellogg, Brown & Root Servs., Inc., 572 F.3d 1271, 1279 (11th Cir. 2009). For

 facial attacks, the Court accepts the complaint's allegations as true. Stalley ex rel. U.S. v. Orlando

 Reg'l Healthcare Sys. Inc., 524 F.3d 1229, 1232 (11th Cir. 2008). Factual attacks, in contrast,

 allow a court “to consider extrinsic evidence such as deposition testimony and affidavits.”




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 Carmichael, 572 F.3d at 1279. Factual attacks place the burden on the plaintiff to show that

 jurisdiction exists. OSI, Inc. v. United States, 285 F.3d 947, 951 (11th Cir. 2002). Article III,

 Section 2 of the United States Constitution limits federal courts' jurisdiction to actual cases and

 controversies. Standing is a part of this limitation, as a “threshold jurisdictional question” that

 must be resolved before a court can turn to a claim's merits. Bochese v. Town of Ponce Inlet, 405

 F.3d 964, 974 (11th Cir. 2005). Courts determine standing at the time of filing. Id. at 976 (citing

 Focus on the Family v. Pinellas Suncoast Transit Auth., 344 F.3d 1263, 1275 (11th Cir. 2003)).

 B. Plaintiff fails to establish she has standing to bring this lawsuit.

        To establish standing in this case, Plaintiff must prove that (1) she suffered or will

 imminently suffer an injury-in-fact, (2) a causal connection exists between her injury and

 Defendant’s conduct, (3) that her injury is likely to be redressed by a favorable decision, and (4)

 that she is reasonably expected to suffer injury in the future. Kennedy v. Melbourne Beach, LLC,

 No. 616CV1849ORL40DCI, 2017 WL 821815, at *2 (M.D. Fla. Mar. 2, 2017). Plaintiff’s

 Complaint [D.E. 1] does not adequately allege she has standing to bring this lawsuit against

 Defendant because she fails to establish an injury-in-fact and real and immediate intent to return

 to the Website and make use of its services.

        Plaintiff alleges that prior to the commencement of this lawsuit, she visited the Website

 for the purpose of reviewing and assessing the accessible features at the Property and to ascertain

 whether they meet the requirements of 28 C.F.R. § 36.02(e) and her accessibility needs. [D.E. 1,

 ¶10]. Plaintiff does not allege that she intended on using the Website to reserve a room at the

 hotel prior to filing this lawsuit. Instead, Plaintiff’s intentions were to access the Website as a

 “tester” to see if it was in compliance. As a result, Plaintiff cannot claim to be injured by the

 Website’s alleged noncompliance when she had no intentions on reserving a room in the first




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 place. It is well settled that an ADA plaintiff that claims to be a “tester” must still independently

 assert its standing to bring each case based on the facts. See Houston v. Marod Supermarkets,

 Inc., 733 F.3d 1323, 1340 (11th Cir. 2013) (“Each plaintiff must establish standing on the facts

 of the case before the court. That is equally as true about a regular customer of a public

 accommodation as it is for a tester…”). Accordingly, Plaintiff has failed to allege an injury-in-

 fact, and thus, the Complaint should be dismissed.

        Plaintiff also fails to establish a threat of future injury. She does not specify when she

 allegedly visited the Website. [D.E. 1, ¶ 10]. Plaintiff does not even generally allege a history of

 past patronage to the Website or subject hotel. Indeed, “a party has standing to seek injunctive

 relief only if the party alleges…a real and immediate-as opposed to a merely conjectural or

 hypothetical-threat of future injury.” Access for the Disabled, Inc. v. First Resort, Inc., No. 8:11-

 CV-2342-T-30EAJ, 2012 WL 4479005, at *5 (M.D. Fla. Sept. 28, 2012) (finding Plaintiff lacked

 standing because she lacked “the requisite concrete and specific intent to return” to the property

 against which she filed an ADA lawsuit).

        However, Plaintiff has not established any frequency or intent in using the Website to

 reserve a hotel room that would lead to a “real and immediate” threat of future injury. See

 Beachside Commercial Properties, LLC., 2017 WL 4243584, at *3 (“By only visiting the

 Property once before filing, Plaintiff has not established that she is a frequent visitor to the

 Property.”). Moreover, Plaintiff alleges no real or conjectural intent to return to the Website and

 reserve a room at the subject hotel. Plaintiff vaguely alleged that she intends to the revisit the

 Website “in the near future.” [D.E. 1, ¶ 11]. See Payne v. Gulfstream Goodwill Indus., Inc., No.

 15-CV-81120, 2015 WL 6123529, at *4 (S.D. Fla. Oct. 19, 2015) (finding plaintiff’s statement

 that she plans to return to the subject property in the future “nothing more than a vague,




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 conclusory allegation of future harm, devoid of factual enhancement); see also Kennedy v.

 Melbourne Beach, LLC, 2017 WL 821815, at *2 (“Plaintiff avers that she visited Plaza 959 on

 only one occasion, and she alleged no facts to support her proposition that she will return in the

 future”); Hoewischer v. Cedar Bend Club, Inc., No. 3:11-CV-1040-J-37TEM, 2013 WL

 1155783, at *2 (M.D. Fla. Mar. 14, 2013). Thus, Plaintiff’s Complaint should be dismissed for

 failure to establish a likelihood of future injury.

 C. Plaintiff fails to adequately state a cause of cause action.

         In ADA cases, a plaintiff only has standing to seek redress for barriers actually

 encountered or of which she had knowledge of at the time of filing the complaint, so it is

 important that those barriers be factually specified in the complaint. See First Resort, Inc., 2012

 WL 4479005, at *6; Access Now, Inc. v. S. Florida Stadium Corp., 161 F. Supp. 2d 1357, 1365-

 1366 (S.D. Fla. 2001); see also Norkunas, 44 Fed.Appx. at 415-16. Plaintiff’s Complaint merely

 alleges that the Website is in violation of 28 C.F.R. § 36.302(e), and 42 U.S.C § 12181 et. seq.

 generally, without stating how it is in violation. Defendant cannot possibly be expected to meet

 the allegations of unidentified violations in its answer and with affirmative defenses, nor should

 Defendant be required to engage in discovery to determine what violations gave rise to the

 Complaint.1 Plaintiff is required to set forth the alleged ADA violations for which she seeks

 redress so Defendant can fairly be put on notice of such claims and prepare sufficient responses

 to them. As such, Plaintiff should be required to file an amended complaint that addresses these

 pleading deficiencies and state the alleged ADA violations with more specificity.

                                                   Conclusion


 1
   Permitting Plaintiff to state a claim based upon unknown and unidentified barriers would force Defendants to
 identify same through discovery, amend its answers accordingly, and waste time and increase the legal fees at issue.
 Plaintiff should know what ADA violations she is complaining of at the outset of his case and should be required to
 provide notice of same under the pleadings requirements of Rule 8 of the Federal Rules of Civil Procedure.


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        Because Plaintiff has failed to allege standing to bring this lawsuit, the Complaint should

 be dismissed with prejudice. Also, Plaintiff has failed to provide any factual support for the

 alleged violations at the subject website, and thus, Defendant is not on notice of same and cannot

 properly evaluate Plaintiff’s claims to answer and prepare its defenses. As a result, Plaintiff

 should be required to provide a more definite statement of the alleged violation she encountered

 or had knowledge of at the time of filing the Complaint.

        WHEREFORE, Defendant, Floridian Hotel, Inc., respectfully requests the Court enter an

 order granting this motion, dismissing the Complaint with prejudice, or in the alternative,

 requiring Plaintiff to provide a more definite statement as to the violations she encountered or

 had knowledge of at the time of filing the Complaint, and granting Defendant such further relief

 as the Court deems just and proper.

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on April 13, 2018, I electronically filed the foregoing
 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
 is being served this day on all counsel of record via transmission of Notices of Electronic Filing
 generated by CM/ECF.
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